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 1 ROCHE CYRULNIK FREEDMAN LLP
   KATHERINE ESKOVITZ (SBN 255105)
 2 158 26th Street, Suite 175
   Santa Monica, CA 90403
 3 Telephone: (929) 457-0050
   keskovitz@rcfllp.com
 4
   VELVEL (DEVIN) FREEDMAN (Fla. Bar. No. 99762)
 5 200 S. Biscayne Blvd, Suite 5500
   Miami, FL 33131
 6 Telephone: (305) 357-3861
   vel@rcfllp.com
 7
   Attorneys for IRA KLEIMAN, as Personal
 8 Representative of the Estate of David Kleiman,
   and W&K INFO DEFENSE RESEARCH, LLC
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11                           UNITED STATES DISTRICT COURT
12                          CENTRAL DISTRICT OF CALIFORNIA
13                                    WESTERN DIVISION
14

15 IN RE SUBPOENA TO M.L.                     Misc. Case No. 2:20-mc-44
16 IRA KLEIMAN, as the personal               Underlying Litigation:
   representative of the Estate of David      Case No. 9:18-cv-80176-BB
17 Kleiman, and W&K Info Defense              United States District Court
   Research, LLC,                             Southern District of Florida
18
                  Plaintiffs,                 [PROPOSED] ORDER GRANTING
19                                            PLAINTIFFS’ APPLICATION FOR
          v.                                  LEAVE TO FILE UNDER SEAL
20
   CRAIG WRIGHT,                              [LOCAL CIVIL RULE 79-5.2.2(a)]
21
                  Defendant.
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     [PROPOSED] ORDER GRANTING APPLICATION
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 1          This matter came before the Court on an Application for Leave to File Under Seal filed

 2 by Ira Kleiman, as personal representative of the Estate of David Kleiman, and W&K Info

 3 Defense Research, LLC (collectively, “Plaintiffs”).

 4          Plaintiffs sought an order sealing the following documents (the “Documents”): (1)

 5 Notice of Motion to Compel Compliance with Subpoena; (2) Joint Stipulation Under Local

 6 Rule 37-2 Regarding Plaintiffs’ Motion to Compel Compliance with Subpoena; (3) Declaration

 7 of Velvel (Devin) Freedman in Support of Plaintiffs’ Motion to Compel Compliance with

 8 Subpoena and the attached Exhibits 3, 4, and 5; (4) Proposed Agreed Order Granting Plaintiffs’

 9 Motion to Compel Compliance with Subpoena; (5) Plaintiffs’ Application for Leave to File

10 Case Under Seal; (6) Declaration of Velvel (Devin) Freedman in Support of Plaintiffs’

11 Application for Leave to File Case Under Seal; and (7) Proposed Order Granting Plaintiffs’

12 Application for Leave to File Case Under Seal. Plaintiffs further sought an order changing the

13 name of the above-captioned matter to “In re Subpoena to M.L.”

14          Due and adequate notice having been given to the parties, and the Court having

15 considered all papers filed and proceedings had herein, the Court finds good cause to (1) seal

16 the Documents to the extent provided by Plaintiffs’ proposed redactions and (2) modify the

17 name of the case in order to protect the privacy interests and personal safety of the witness and

18 the witness’s family. Based on that conclusion, this Court issues the orders set forth below:

19          1.     Plaintiffs’ Application for Leave to File Under Seal is GRANTED; and

20          2.     The Documents shall be sealed to the extent provided by Plaintiffs’ proposed

21 redactions.

22          IT IS SO ORDERED.

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24 Dated: April 20, 2020                                 ________________________________
                                                           ________________________
25                                                       U.S. MAGISTRATE JUDGE

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     [PROPOSED] ORDER GRANTING APPLICATION
